OAO 245C (Rev. 06/05)Case   3:91-cr-00397-JAF
                      Amended Judgment in a Criminal Case           Document 406               Filed 04/21/09               Page Identify
                                                                                                                           (NOTE: 1 of 5Changes with Asterisks (*))
         Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                           District of                                 PUERTO RICO
           UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
          LUIS ENRIQUE OVALLE-MARQUEZ                                                 Case Number:                   91-CR-397 (2)(RLA)
                                                                                      USM Number:                    07663-069
Date of Original Judgment: 01/22/93                                                   Frank Inserni-Milam
(Or Date of Last Amended Judgment)                                                    Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                     G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                      G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                             Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                 X Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                       to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                      G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                        G 18 U.S.C. § 3559(c)(7)
                                                                                      G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
G    pleaded guilty to count(s)
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
X    was found guilty on count(s)         1, 2, 5 and 6 of Indictment on 09/04/92,
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                  Offense Ended                     Count
21:963, 846, 952(a),                Aid & Abet; Conspiracy to Possess with Intent to Distribute                           12/17/91                1, 2, 5 & 6
841(a)(1) & 18:2                    and Import Cocaine.




       The defendant is sentenced as provided in pages 2                      through 5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X    The defendant has been found not guilty on count(s)                3, 4 and 7 of indictment
G    Count(s)                                                 G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      April 21, 2009
                                                                                      Date of Imposition of Judgment


                                                                                      S/ Raymond L. Acosta
                                                                                      Signature of Judge
                                                                                      Raymond L. Acosta, U.S. District Judge
                                                                                      Name and Title of Judge

                                                                                      April 21, 2009
                                                                                      Date
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 — Imprisonment                                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page         2     of         5
DEFENDANT:                LUIS ENRIQUE OVALLE-MARQUEZ
CASE NUMBER:              91-CR-397 (2)(RLA)

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term

    (*) (300) THREE HUNDRED MONTHS as to each count, to be served concurrently with each other.
           The parties stipulated orally 300 months of imprisonment and waived their right to appeal.


G The court makes the following recommendations to the Bureau of Prisons:




X The defendant is remanded to the custody of the United States Marshal.

G The defendant shall surrender to the United States Marshal for this district:
    G      at                                    G     a.m.      G    p.m.      on                                        .

    G      as notified by the United States Marshal.

G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

    G      before 2 p.m. on                                              .

    G      as notified by the United States Marshal.

    G      as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                             to

a                                                      with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                         By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))

                                                                                                        Judgment—Page        3      of         5
DEFENDANT:                  LUIS ENRIQUE OVALLE-MARQUEZ
CASE NUMBER:                91-CR-397 (2)(RLA)
                                                        SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of          (5) FIVE YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
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           Sheet 3A — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                              Judgment—Page       4      of         5
DEFENDANT:                LUIS ENRIQUE OVALLE-MARQUEZ
CASE NUMBER:              91-CR-397 (2)(RLA)

                            (*) ADDITIONAL SUPERVISED RELEASE TERMS
1. The defendant shall not commit another Federal, state, or local crime, and shall observe the standard conditions of
supervised release recommended by the United States Sentencing Commission and adopted by this Court.
2. The defendant shall not unlawfully possess controlled substances and shall refrain from possessing firearms, destructive
devices, and other dangerous weapons.
3. If removed by the Bureau of Immigration and Customs Enforcement, the defendant shall remain outside the United
States, and all places subject to its jurisdiction unless prior written permission to reenter is obtained from the pertinent
legal authorities and the defendant notifies in writing the probation officer of this Court to that effect.
4. The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer, pursuant to
the Revised DNA Collection Requirements, and Title 18, U.S. Code 3563 (a)(9).

The sentence imposed on January 22, 1993 stands as to all other effects.
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment — Page      5      of           5
DEFENDANT:                       LUIS ENRIQUE OVALLE-MARQUEZ
CASE NUMBER:                     91-CR-397 (2)(RLA)
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                               Restitution
TOTALS           $ 200.00 ($50.00 as to                           $    -0-                              $ -0-
                   each count)

G   The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                            Restitution Ordered                 Priority or Percentage




TOTALS                             $                                          $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine         G restitution.
     G the interest requirement for the        G     fine      G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.


AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5 A — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))
